     Case 4:07-cv-05944-JST Document 1573-2 Filed 02/15/13 Page 1 of 31




 I     Guido Saven (223 49) guido@saveri.com
       R. Alexender Saveri (17 3 102\ rick@.saveri,com
-l
L      Gooffrey C, Rushing ( t zel t d¡ grusÍing@savêri.com
       Cadio Zirpoli ( I 79 I 08) cadio@saveri.com
 3     SAVERI & SAVERI,INC.
       706 Sansome Street
4      San Francisco, CA 94111
       Telephone : (41 5) 217 -681 0
 5     Facsimile (41 5) 217 -68'13

 6     Interim Lesd Counsetþr the
       D ir e c t P ur chas et, P laint iffs
 7

 8                                             TINITED STATES DISTRICT COURT

 9                                      NORTTIERN DISTRICT OF CALIFORNIA

l0                                                SAN FRANCISCO DIVISION

l1

t2     In re: CATHODE RAY TUBE (CRT)                         Master File No. CV-07-5944-SC
       A}ITITRUST LITIGATION
l3                                                           MDL No. 1917
       This Document Relates to:
t4                                                           DECLARATION OF MABKHAM
       ALL DIRECT PT]RCHASER ACTIONS                         SHERWOOD IN SUPPCIRT.OF MOTION
t5                                                           FOR FINÀL APPROVAL OF CLASS
                                                             ACTION SETTLEMENT .
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t7

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               DEgr-ARATToN oF MÄRKflAM sHERwooD rso MorIoJ.r FoR FTNAL rlppRovAl- oF cI,Ass AcrIoN SETTLEMENT
     Case 4:07-cv-05944-JST Document 1573-2 Filed 02/15/13 Page 2 of 31




 I     I, Markham Sherwood, declare as follows:
1              1.      I am employed by Gilardi &, Co.,LLC ("Gilardi"), located at 3301 Kemer Blvd.,

       San Rafael, California, Gila¡di was hired by class counsel as,the Settlement Administater in this

4      matter. I am over 2l years of age and am not a party to this action. I have personal knowledge of

 5     the facts set fofih herein and, if called as a witness, could and would testi$ competently thetuto.

 6            2       Gilardi was formed in 1984 to assist attomeys with securities, antifust, consuner

 7     pmtection class actions, md other similar matters. Gilaïdi specializes in desigping, develo,ping,

 I     analyzing, and implernentingsettleme,nta{pinistation nlans that support dueproèess. fuiog.                   ,




 9     the past 28 years Gilardi has administered class notice and class settlemeuts in ovcr 3,500,dlnss

10     actions, and has distibuted morE than $20 billion in   assets.       '


l1            3.      Between May 16 and May 2g,2012Gilardi received from Plaintiffs' Counsel eight

t2     ftles which included the names, and, where available, the add¡esses and electonic mail addæsses

l3     of all class members identified by Defendanß in this mafier. Gilardi formatted the list for mailing

t4     purposes, removed duplicate reoords¡ removed,known Defenda¡rt entities, researched compaay

15     names lacking addresses and dded addresses where foun{ and processed tl¡e names and          .   ,



16     addresses through the National Change of Address Database to updaæ any addresses on file with

17     the United St¿tes Postal Service ("USPS").

l8             4.     On Novembe r 27,Zlll-,Gilardi caused the LG Notice to be printed and mailed to

t9     the 16,601 uniqtæ n4môs a¡¡d addresses on the class list. Gilardi delivered the LG Notices to the' '
                               :


20     United States Post Offièes loeatcd in Sant¿ Rosa" Califomia. A tue and correc[copy of tho ,LG

2l     Notice is attached hereto as E;tribit A.                                                    'ì               "
22             5.     On Novem lter 27 ,2012, Gilardi caused the Notice to be electonically dírtibr$d

23     to the 872 unique eJectroniç mail addresses on the class lisl                                        .




24

25     yñ^mr.CRTDtrccP                                        . There, potential class membeÍs can vÏcw and

26     print copies of the CFT Settlsmeút Agreement, the Philþs Settlement Agreement, the Notice, ærd

27     thr Order Granting Settlemørt Class Certifïcation and Prelimina¡y Approval of Class Actiot.              '


                               i

2:ß     Seftlements with CPT åna fmips. Gilardi subsequently aniended the landing page and a¿¡tø'Ure
                                                         I
            DECLARÂTIoNoF MARKITAMsHBRwooD¡so McTnoÑFoRFb¡AL APPROV]|J. OF CI,ASS âÇTION SETTLEIìæM,
     Case 4:07-cv-05944-JST Document 1573-2 Filed 02/15/13 Page 3 of 31




 I     Panasonic Class Noticq the Panasonic Sottlement Agreement, the Order Granting Class

¿      Certification and Prelirninary Approval of Class Action Settlement with Panasonic, the LG Class

3      Notice, the LG Settlement:Agreeinen-! and the Ordsr Grgnting C-lassrCertificatio¡ and :         :' ,:
4      Preliminary Approval of Class Action SettlementwithlG. Class members can also vieù
                                                                                                         I'
                                                                                                 ..:

 5     Frequently Asked Questions and obtain Gilardirs co¡tast information

6              7.       On or before June 7, 2072,Gilardi activated a toll-free telephone number, l'877'

 7     224-3063, through whioh callers a¡e able to connect with a live customer service representative

 8     Monday through Friday from 7:00 a.m. ûo 5:00 p,m. Pacific Time. English and Spanish operators
                                                                                             '


 9     are available.

10             8.       Through iæ in-house advertising agency, Larkspur Design Groop, Gilardi caused

11     the SumnaryNotice to be published in the national edition of the Wall Sheet Joumal        on            ''


12     November 23,2012. A true and correct copy of the tea¡ sheet provide by the Wall Sf,eet'Jotrnal

13     is attached hereto as Exhi-bit   B.
                                                                                                                        l

t4             g.       The postmark deadline for class members to be excluded from the LG Sçttlernent

15     Class was January 11, 2013. To date, Gilardi has received 23 timely rqquests for exclusion frotrt

l6     the settlemenl A report detailing the requests for exclusion received at Gilardi isattacåed hgreto

l7     as Exhibit C.

               10, The postmark deadline for class membars to object to thç LG Sett.lement wss
                                                                         1




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t9     Jaln¡ary 11, 2013: To dafe, Gilardi has received zero (0) oÞjectionq to the settlêment.                      :



20             I declare under penalty of perjury that theforegorng is üue and *i*t, an¿ ttrat this:

2l     decla¡ation was executed this l5th day of February ,20l3at San Rafael, Califomia.           ,




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            DECLARAToN oF MARK}IAM SHER\üOoD ISo MoTIo}J FoR FINAL APPÈOVAL OF CLASS AgfION SETTLEIVÍENT

                                                                                    I
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            EXHIBIT A
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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                        If You Bought A Cathode Ray Tube Product,
                                         A Class Action Settlement May Affect You.
               Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
                       contain a Cathode Ray Tube such as Televisions and Computer Monitors
                    A Federal Court authorized this NoÍice. This is not a solicilarion from a lawyer.
. A class action lawsuit that includes direct purchasers ofCRT Products is currently pending.
o Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an unlawful conspiracy to fix, raise, maintain or
    stabilize the prices of Cathode Ray Tubes. Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
    cathode ray tube from the Defendants may recover for the effect that the cathode ray tube conspiracy had on the prices of
    televisions and monitors. Plaintiffs allege that, as a result of the unlawful conspiracy involving cathode ray tubes, they and other
    direct purchasels paid more fot' CRT Products than they would have paid absent the conspiracy. Defendants deny Plaintiffs'
    claims.

.   A Settlement has been reached with LG Electronics, Inc., LG Electronics USA, lnc., and LG Electronics Taiwan Taipei Co., Ltd.
    The companies are togetlrer referred to as the "Settling Defendants."
.   Your legal rights will be affected whether you act or dou't act. This Notice includes information on the Settlement and the
    continuing lawsuit. Please read the entire Notice carefully.

                      These Rights and Options - and deadlines to exercise them - are explained in this notice

                        You can object or comment on the Settlement                              see Question 10
                        You may exclude yourself from the Settlement                             see Question 10
                        You may go to a hearing and comment on the Settlement                    see Question l4

.   The Court in charge of this case still has to decide whether to approve the Settlement. The case against the Non-Settling
    Defendants (identified below) continues.

                                                  \ryHAT THIS NOTICE CONTAINS
        Basic Information                                                                                               Page 2
               l. Why did ì get this notice?
               2. Who are the Defendant companies?
               3. What is this lawsuit about?
               4. Why is there a Settlement but the litigation is continuing?
               5. What is a Cathode Ray Tube Product?
               6. What is a class action?
        The Settlement Class                                                                                            Page 3
               7. How do I know if I'm part of the Settlenlent Class?
               8. What does the Settlement provide?
               9. When can I get a payment?
               10. What are my rights in the Settlement Class?
               11. \,Vhat am I giving up to stay in the Settlement Class?
        The Settlement Approval Hearing                                                                                 Paee 4
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               I 3. Do I have to come to the hearing?
               14. May I speak at the hearing?
        The Lawyers Representing You                                                                                    PaEe 4

               15. Do I have a lawyer in the case?
               16. How will the larvyers be paid?


               17. How do I get more information?




              For More Information: Calll-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                                         BASIC INFORMATION
1.       Why did I get this notice?
You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products containing those tubes between
March l, 1995 and November 25,2007. A direct purchaser is a person or business who bought a CRT, or atelevision or computer
monitor containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or subsidiaries themselves, as
opposed to an intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the Court decides whether to approve
the Settlement.
The notice explains the litigation, the settlement, and your legal rights.
The Court in charge of the case is the United States District Court for the Northern District of California, and the case is called In re
Cathode Ray Tube (CRT) Antitntst Litigation, MDL No. 1917. The people who sued are called Plaintiffs and the companies they sued
are called Defendants.

2.       Who are the Defendant companies?
The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics Taiwan Taipei Co., Ltd.,
Koninklijke Philips Electronìcs N.V., Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd.,
Philips da Amazonia Industria Electronica Ltda., LP Displays International, Ltd. flkla LG.Philips Displays, Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V.,
Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer Products, LLC., Toshiba America Information Systems,
Inc., Toshiba America Electronics Components, Inc., Panasonic Corporation flkla Matsushita Electric Industrial, Ltd., Panasonic
Corporation of North America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi, Ltd.,
Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), lnc., Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of
America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation f/k/a
Daewoo Electronics Company, Ltd., Daewoo lnternational Corporation, Irico Group Corporation, lrico Group Electronìcs Co., Ltd.,
and Irico Display Devices Co., Ltd.

3.       What is this lawsuit âbout?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and the CRTs contained in
certain finished products for overten years, resulting in overcharges to direct purchasers ofthose CRTs and certain finished products
containing CRTs. The complaint describes how the Defendants and co-conspirators allegedly violated the U.S. antitrust laws by
establishing a global cartel that set artificially high prices for, and restricted the supply of, CRTs and the televisions and monitors that
contained them. Defendants deny Plaintiffs'allegations. The Court has not decided who is right.

4,       Why is there a Settlement but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement with LG Electronics, Inc., LG
Electronics U.S.A., Inc., and LC Electronics Taiwan Taipei Co., Ltd. (This settlement also releases LP Displays International, Ltd.
f/k/a LG.Philips Displays.) Plaintiffs have also reached three previous settlements with 1) Chunghwa Picture Tubes Ltd., and
Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., 2) Koninklijke Philips Electronics N.V., Philips Electronics North America
Corporation, Philips Electronics lndustries (Taiwan), Ltd., and Philips da Amazonia Industria Electronica Ltda. and 3) Panasonic
Corporation (flkla Matsushita Electric Industrial, Ltd.), Panasonic Corporation of North America, and MT Picture Display Co., Ltd.
(this settlement also releases Beijing-Matsushita Color CRT Company, Ltd.) which are awaiting fìnal approval from the Court. The
case is continuing against the remaining Non-Settling Defendants. Additional money may become available in the future as a result of
a trial or future settlements, but there is no guarantee that this will happen.

5.       Wh¿t is a Cathode Ray Tube Product?
Forthe purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of any type (e.g. color displaytubes, color
picture tubes and monochrome display tubes) and finished products which contain Cathode Ray Tubes, such as Televisions and
Computer Monitors.
6.       r#hat is a class action?
ìn a class action, one or more people, called class representatives, sue on behalf of people who have similar claims. All these people
are members of the class, except for those who exclude themselves from the class.

lf the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notified about those settlements, if any, at
that time. Important information about the case will be posted on the website, www.CRTDirectPurchaserAntitrustsettlement.com as it
becomes available. Please check the website to be kept informed about any future developments.



            For More Information: Call l-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                                     THE SETTLEMENT CLASS
7.       How do I know if I'm part of the Settlement Class?
The Settlement Class includes:
AII persons and entities who, between March l, 1995 and November 25,2007, directly purchased a CRT Product in the United States
from any Defendant or subsidiary or affiliate thereof, or any co-conspirator ("Settlement Class").
8.       What does the Settlement provide?
This Settlement provides for a payment in the amount of $25,000,000 in cash to the Settlement Class. The Settling Defendants also
agreed to cooperate with the Plaintiffs in providing certain information about the allegations in the complaint. ln addition, the Settling
Defendants' sales remain in the case for the purpose of cornputing darnages against the remaining non-settling Defendants.
More details are in the Settlement Agreement, available at www.CRTDirectPurchaserAntitrustSettlement.com.
9.       When can I get a payment?
No money will be distributed to any Class Member yet. The lavlyers will pursue the lawsuit against the Non-Settling Defendants to see if
any future settlements orjudgments can be obtained in the case and then be distributed together, to reduce expenses.
AnyfuturedistributionoftheSettlementFundswill bedoneonaproratabasis. Youwill benotifiedinthefuturewhenandwhereto
send a claim form. DO NOT SEND ANY CLAIMS NOW.

In the future, each class member's pro rata share of the Settlement Fund will be deterrnined by computing each valid claimant's total
CRT Product purchases divided by the total valid CRT Product purchases claimed. This percentage is multiplied to the Net
Settfement Fund (total settlements minus all costs, attorneys' fees, and expenses) to determine each claimant's pro rata share of the
Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPT's and CDT's) are calculated at full value while CRT
televisions are valued at 50o/o and CRT computer monitors are valued at75o/o.
In summary, all valid claimants will share in the settlement funds on a pro ratabasis determined by the CRT value of the product you
purchased - tubes 1007o, monitors 75o/o and televisions 50olo.
10.      \ilhat are my rights with regard to the Settlement Class?
Remain in the Settlement Class: ìf you wish to remain a member of the Settlement Class you do not need to take any action at this time.
Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Defendants about the claims in this case,
you must exclude yourself from the Settlement Class. You will not get any money from the settlement if you exclude yourself from
the Settlement Class.
To exclude yourself from the Settlement Class, you must send a letter that includes the following:
     o   Your name, address and telephone number;
     ¡   A statement saying that you want to be excluded from ln re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917,
         LG Settlement; and
     .   Your signature.
You must mail your exclusion request, postmarked no later than January 11, 2013, to:
                                                       CRT Claims Administrator
                                                         c/o Gilardi& Co. LLC
                                                             P.O. Box 8090
                                                       San Rafael, CA 94912-8090
                                                           Tel: 877-224-3063
Remain in the Settlement Class and Obiect: If you have comments about, or disagree with, any aspect of the Settlement, you may
express your views to the Court by writing to the address below. The written response needs to include your name, address, telephone
number, the case name and number (In re Cathode Ray Tube (CRT) Antitrust LiÍigation, MDL No. 1917), a brief explanation of your
reasons for objection, and your signature. The response must be postmarked no later than January ll,2013 and mailed to:

 COURT                                      I INTERIM LEAD COUNSEL                     I COUNSEL FOR SETTLING DEFENDANTS
 Honorable Charles A. Legge (Ret.)          | Guido Saver r                            I Douglas L. Wald
 JAMS                                       I R. Alexander Saveri                      I Wilson D. Mudge
 Two Embarcadero, Suite 1500                | SAVERI & SAVERÌ,INC.                       Yong Sang Kim
 San Francisco, CA 941I I                   | 706 Sansome Street                       I ARNOLD & PORTER LLP
                                              San Francisco, CA 941 I   I              | 555 Twelfth Street, NW
                                                                                         Washington, DC 20004




            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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I   l.   What am I giving up to stây in the Settlement Class?
Unless you exclude yourself from the Settlelnent Class, you can't sue the Settling Defendants (or any of the related entities that are
released in the Settlement Agreement), or be part of any other lawsuit against these Settling Defendants about the legal issues in this
case. It also means that all of the decisions by the Court will bind you. The "Release of Claims" includes any causes of actions
asserted or that could have been asserted in the lawsuit, as described more fully in the Settlement Agreement. The Settlement
Agreement is available at www.CRTDirectPurchaserAntitrustSettlement.com.

                                           THE SETTLEMENT APPROVAL HEARING
12.      When and where will the Court decide whether to âpprove the Settlement?
The Court will hold a Fairness Hearing at l0:00 a.m. on March 15,2013, at JAMS, Two Embarcadero, Suite 1500, San Francisco,
CA 9411 l. The hearing may be moved to a different date or time without additional notice, so it is a good idea to check the class
website for information. At this hearing, the Court will consider whether the Settlement is fair, reasonable and adequate. lf there are
objections or comments, the Court will consider them at that time. After the hearing, the Court will decide whether to approve the
Settlement. We do not know how long these decisions will take.

13.      Do I have to come to the hearing?
No. lnterim Lead Counsel will answer any questions the Court may have, but you are welcome to come at your own expense. If you
send an objection ol'conrment, you don't have to conìe to Court to talk about it. As long as you mailed your written objection on time,
the Court will consider it. You may also pay another lawyer to attend, but it's not required.

14.      May I speak at the hearing?
ìf you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval Hearing, you must give the Court a paper
tlrat is called a 'Notice of Appearance." The Notice of Appearance should include the name and numbel of the lawsuit (ln re Cathode
Ray Tube (CRT) Antitrusl Litigation, MDL No. 1917),and state that you wish to enter an appearance at the Fairness Hearing. It also
must include youl name, address, telephone number', and signatule. Your "Notice of Appearance" must be postmarked no later than
January I l,2013. You cannot speak at the Hearing ifyou previously asked to be excluded from the Settlement.
The Notice of Appearance must be sent to the addresses listed in Question 10.

                                              THE LAWYERS REPRESENTING YOU
15.      Do I have a lawyer in the case?
Yes. The Court has appointed the law firm of Saveri & Saveri, lnc. to represent you as "lnterim Lead Counsel." Yor¡ do not have to
pay Interim Lead Counsel. Ifyou want to be represented by your own ìawyer, and have that lawyer appear in court for you in this
case, you may hire one at your own expense.

16.      How will the lawyers be paid?
Class Counsel are not asking for attorneys' fees at this ti¡ne. At a futule time, Interim Lead Counsel will ask the Court for attorneys'
fees not to exceed one-third (33.3o/o) of this or any future Settlement Fund plus reimbursement of their costs and expenses, in
accordance with the provisions of the Settlement Agreement. Interirn Lead Counsel may also request that an amount be paid to each
of the Class Representatives who helped the lawyers on behalf of the whole Class.

                                                GETTING MORE INFORMATION
17.      How do I get more information?
This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit and Settlement at
www.CRTDirectPurchaserAntitrustSettlement.com, by calling 1-877-224-3063, or writing to CRT Claims Administrator, c/o Gilardi
& Co. LLC, P.O. Box 808003, Petaluma CA 94975-8003. Please do not contact JAMS or the Court about this case.
Dated: November 13, 2012                                        BY ORDER OF THE COURT




           For More Information: Call l-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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            EXHIBIT B
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         (   fr X    C:mæslo                        BGN.WT.BFX.CC^.CHÂ.CKp.CpD.CXrllHÌ{ll1lHñmlillñlllllllrLO.KCS.uG.ul.LKO.Mr^.MrJ.NMX.paL.pHt.pvN.SU.rOM.ruS.Ur^.wOK

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     86 I Friday, Novcn)l)cr 23,2012                                                                                                                                          Tllli ìr1l,t, sTntnT J{)un)rr¡..

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            EXHIBIT C
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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

 1) Unisys Corporation
           801 Lakeview Drive Ste 100
           Blue Bell. PA 19422

 2) Costco Wholesale
           Attn:James E. Pruitt
           999 Lake Dr.
           ssaquah, WA 98027-8990
           I




3) Ayers Group
           355 BristolSfreef, Suite F
           Costa Mesa, CA 92626

4) Jerry Laatsch
           10550 Appomattox
           Holly, Ml 48442
5) Best Buy
       Best Buy Co., Inc.
       Best Buy Purchasing, LLC
       Best Buy Enterprise Services, Inc.
       Best Buy Stores, L.P.
       BestBuy.com, LLC
       Magnolia Hi-Fi, Inc.

6) Mivar di Carlo Vichi e C.S.A.S.
           Via Bergognone, 65
           20144 Milan
           Italy

7) NECO Alliance LLC
       Aitoro Appliance Co., Inc.
       Appliance Dealers Cooperative Inc.
       Dynamic Marketing, lnc.
       I ntercounty Appliance Corp.

       Nationwide of Connecticut. lnc.
       New England Appliance & Electronics Group, Inc

           620 Route 25A, Suite D
           Mount Sinai, NY 11766

8) Tech Data Corporation
       Azlan European Finance Limited
       Azlan GmbH
       Azlan Group Limited
       Azlan Limited
       Azlan Logistics Limited



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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       Azlan Overseas Holdings Ltd.
       Azlan Scandinavia AB
       Best'Ware France SA
       Computer 2000 Distribution Ltd.
       Computer 2000 Publishing AB
       Datatechnology Datech Ltd.
       Datech 2000 Ltd.
       ETC Africa SAS
       ETC BV
       ETC Metrologie Sarl
       Expander Express AB
       Expander Informatic AB
       Expander Technical AB
       Frontline Distribution Ltd.
       Frontline Distribution (lreland) Ltd.
       Hakro-Ooseterberg-Nijkerk B.V.
       Horizon Technical Services (UK) Limited
       Horizon Technical Services AB
       Hotlamps Limited
       lSl Distribution Limited
       Managed Training Services Limited
       Maneboard Ltd
       Maverick Presentation Products Limited
       ProDesk N.V
       Quadrangle Technical Services Limited
       Screen Expert Limited UK
       SDG BV
      Specialis Distribution Group (SDG) Limited
      TD Brasil, Ltda
      TD Facilities, Ltd. (Partnership)
      TD Fulfillment Services, LLC
      TD Tech Data AB
      TD Tech Data Portugal Lda
      TD United Kingdom Acquisition Limited
      Tech Data (Netherlands) B.V.
      Tech Data (Schweiz) GmbH
      Tech Data bvba/sprl
      Tech Data Canada Corporation
      Tech Data Chile S.A.
      Tech Data Colombia S.A.S.
      Tech Data Corporation ("TDC")
      Tech Data Denmark ApS
      Tech Data Deutschland GmbH
      Tech Data Distribution s.r.o.
      Tech Data Education, Inc.
      Tech Data Esoana S.L.U.



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Cathode Røy Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       Tech Data Eurooe GmbH
       Tech Data Europe Services and Operations, S.L.
       Tech Data European Management GmbH
       Tech Data Finance Partner, Inc.
       Tech Data Finance SPV, Inc.
       Tech Data Financing Corporation
       Tech Data Finland OY
       Tech Data Florida Services, lnc.
       Tech Data France Holding Sarl
       Tech Data France SAS
       Tech Data GmbH & Co OHG
       Tech Data Information Technology GmbH
       Tech Data Global Finance LP
       Tech Data International Sárl
       Tech Data ltalia s.r.l.
       Tech Data Latin America. lnc.
       Tech Data Ltd
       Tech DataLuxembourg Sárl
       Tech Data Management GmbH
       Tech Data Marne SNC
       Tech Data Mexico S. de R.L. de C.V.
       Tech Data Midrange GmbH
       Tech Data Mobile Acquisition Limited
       Tech Data Mobile Austria GmbH
       Tech Data Mobile Cooperatief W.A.
       Tech Data Mobile Limited
       Tech Data Nederland B.V.
       Tech Data Norge AS
       Tech Data Operations Center, SA
       Tech Data Österreich GmbH
       Tech Data Peru S.A.C.
       Tech Data Polska Sp.z.o.o.
       Tech Data Product Management, Inc.
       Tech Data Resources, LLC
       Tech Data Service GmbH
       Tech Data Servicios, S. de R.L. de C.V.
       Tech Data Strategy GmbH
       Tech Data Tennessee, Inc.
       Tech Data Uruguay S.A.
       Triade Holding B.V.
       Triade Rosenmeier Electronics AS

           5350 Tech Data Drive
           Cleanuater, FL 33760

9) Tweeter Entities and Affiliates



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Cøthode Røy Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

             Tweeter Newco, LLC
             Tweeter Opco, LLC
             Tweeter lntellectual Property, LLC
             Tweeter Tivoli, LLC
             Tweeter Home Enteftainment Group, Inc.
             Sound Advice, Inc d/b/a Sound Advice and Showcase Home Entertainment
             Hifi Buys lncorporated
             Tweeter Etc.
             Douglas TV & Appliance, Inc
             Douglas Audio Video Centers, Inc.
             United Autio Centers. lnc
             Sumarc Electronics Incorporated d/b/a NOW! Audio Video
             Bryn Mawr Radio and Television, Inc.
             The Video Scene, Inc. d/b/a Big Screen City
             Hillcrest High Fidelity,lnc dlblal Hillcrest Audio
             DOW StereoA/ideo, Inc
             Home Entertainment of Texas, Inc
             SMK Marketing, Inc. d/b/a/ Audio Video Systems
             Sound Advice of Arizona, Inc.
             New England Autio Co., Inc.
             NEA Deleware, Inc.
             THEG USA L.P.
             Showcase Home Entertainment

                 Schultz Agency Services, LLC
                 c/o Schultze Asset Management, LLC
                 3000 Westchester Avenu,e, Suite 204
                 Purchase, NY 10577

1 0)   Interbond Corporation of America
             d/b/a BrandsMart USA

                 3200 SW 42nd St.
                 Hollywood, FL 33312

I I ) MARTA Cooperative of America, Inc.
           515 East Carefree Hwy #1 140
           Phoenix, AZ 85085

12) Electrograph Systems, lnc.
             Electrograph Systems, Inc
             International Computer Graphics, Inc.
             Activelight, lnc.
             CineLight Corporation
             Manchester Technologies, lnc.
             Machester Equipment Co. lnc.



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Cathode Ray Tubes Antitrust Lítigøtion
Requests For Exclusion Received (LG Settlement)

           Champion Vision, lnc.
           Coastal Office Products, Inc.
           Electrograph Technologies Corp.

              53 Lakeside Drive
              Rockville Ctr.. NY 11570

    13) ABC Appliance, Inc.
           d/b/a ABC Warehouse
              1 West Silverdone lndustrial Park
              Pontiac. M|48342

    14) CompuCom Systems, lnc.
           7171 Forest Lane
           Dallas, TX75230
               CompuCom Sysfems, /nc.
               7171 Forest Lane
               Dallas, TX 75230

f   5) Apple, Inc
          Apple Inc.
          Apple Operations
          Apple Operations Europe (f/k/a Apple Computer Limited)
          Apple Operations Europe (f/k/a Apple Computer Limited) (Singapore branch)
          Apple Computer International
          Apple Computer Inc.

               1 lnfinite Loop
               Cuperlino, CA 95014

16) Office Depot, lnc.
           Office Depot Asia Holding Limited
           Office Depot BA SAS (f.k.a. Guilbert France S.AS.)
           Office Depot BVBA (f.k.a. Guilbert Belgium BVBA)
           Office Depot Brasil Limitada (inactive)
           Office Depot Brasil Participacoes Limitad
           Office Depot Centro America, SA de CV
           Office Depot Chile Limitada (inactive)
           Office Depot Cyprus Limited (f.k.a Claigan Ltd.)
           Office Depot Delaware Overseas Finance No. 1, LLC (f.k.a Office Depot Delaware Overseas Finance
                No. '1, Inc.)
           Office Depot de Mexico SA de CV
           Office Depot Deutschland GmbH (f.k.a Guilbert Deutschland GmbH)
           Office Depot France SNC (f.k.a Office Depot France SAS)
           Office Depot Hungary Kft (f.k.a Elso lroda Superstore Kft.)
           Office Depot, Inc.



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Cathode Røy Tubes Antitrust Litigøtion
Requests For Exclusion Received (LG Settlement)

       Office Depot International BVBA
       OD International (Luxembourg) Finance
       Office Depot, B.V. (formerly Guilbert Netherland BV)
       Office Depot Cooperatief W.A.
       Office Depot Europe B.V.
       Office Depot Europe Holdings Ltd.
       Office Depot GmbH + Switzerland
       Office Depot Holding GmbH + Switzerland
       Offìce Depot Holdings Ltd.
       Office Depot Holdings 2 Ltd.
       Office Depot Holdings 3 Ltd.
       Office Depot, Inc.
       Office Depot International B.V.
       Office Depot lnternational (UK) Ltd.
       Office Depot lreland Limited (f.k.a Guilbert lreland Ltd)
       Office Depot (lsrael) Ltd.
       Office Depot ltalia S.r.l.
       Office Depot Japan Limited
       Office Depot Korea Limited (f.k.a Best Office Co., Ltd.)
       Office Depot Latin American Holdings B.V.
       Office Depot MDF SNC
       Office Depot NA B.V.
       Office Depot N.A. Shares Services LLC
       Office Depot Netherland B.V. (f.k.a Office Depot International, B.V.) (f.k.a Viking Direct (Holdings) B.V.)
       Office Depot Network Technology Ltd.
       Office Depot (Operations) Holding B.V. (f.k.a Guilbert Trademarks B.V.)
       Office Depot Overseas Limited
       Office Depot Overseas Holding Limited
       Office Depot Overseas 2 Limited
       Office Depot Poland Sp Z.O.o. (f.k.a Fontinalis)
       Office Depot Private Limited
       Office Depot Procurement and Sourcing (Schenzhen) Company Ltd. Or translated. Office Depot
            Merchandising (Shenzhen) Company Ltd.
       Office Depot Puerto Rico, LLC
       Office Depot SAS (f.k.a Guilbert SAS)
       Office Depot Service Center SRL
       Office Depot Service - und BeteiligungsGmbH&Co.KG
       Office Depot s.r.o. (f.k.a Papririus s.r.o.)
       Office Depot S.L. (f.k.a Guilbert Espana S.L.)
       Office Depot Tokumei Kumiai
       Office Depot UK Limited (f.k.a Guilbert UK Ltd)
       Office Depot - Viking Holdings B.V.
       2300 South Congress LLC
       45ure.com, Inc.
       AGE Kontor & Data AB
       AsiaEC.com Limited



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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       BizDepot, LLC (inactive)
       Centro de Apoyo Caribe SA de CV
       Centro de Apoyo SA de CV
       Computers4Sure.com, Inc.
       Curry's Limited
       Deo Deo Tokumei Kumiai
       eOffice Planet India Private Limited
       Erial BQ S.A.
       Europa S.A.S.
       Gosta Hansson & Co AB
       Guibert Beteiligungsholding GmbH
       Guilbert lnternational B.V.
       Guilbert Luxembourg S.AR. L.
       Guilbert UK Holdings Ltd
       Guilbert UK Pension Trustees Ltd
       HC Land Company LLC
       Helge Dahnberg AB + Sweden
       Heteyo Holdings B V.
       Hutter GmbH
       Japan Office Supplies, LLC
       Kontorsfackhandlarna Stockholm AB + Sweden
       Kontorsgruppen i Sverige AB + Sweden
       NEWGOH lmmobilienvenrualtung GmbH
       Neighborhood Retail Development Fund, LLC (inactive)
       Niceday Distribution Centre Ltd
       North American Card and Coupon Services, LLC
       Notus Aviation, lnc.
       OD Acquisition Canada ULC
       OD Aviation, Inc.
       OD Colombia Ltda
       OD El Salvador, Ltda. De C.V.
       OD France, LLC
       ODV France, LLC
       ODG Caribe SA de CV (f.k.a Urguguay Cia. Papelera, SA de CV)
       OD Guatemala y Compania. Limitada
       OD Honduras S de RL
       OD International. lnc.
       OD International Holdings CV
       OD International (Luxembourg) Holdings S.A.R.L.
       OD International (Luxembourg) Participation S.A.R.L.
       OD Management SNC
       OD Medical Solutions LLC
       OD of Texas, LLC (f.k.a OD of Texas Inc.)
       ODPanamaSA
       OD S.N.C.
       ODST, LLC (inactive)



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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       OD Tressorerie (f.k.a om S.N.C)
       Office 1 Ltd
       Office'1 (1995) Ltd
       Office Club, Inc.
       OfficeSupplies.com, I nc.
       Office Town, Inc. (inactive)
       Papirius Kft.
       Pappersnabben i Malmo AB + Sweden
       Patitucci Ltd.
       Reliable Uk Ltd
       Ritma AB + Sweden
       S.A.R.L.
       Servicios Administrativos Office Depot SAdeCV
       Servicios y Material De Escritorio S.L.
       Solutions4Sure.com, Inc.
       Stitching Office Depot Charity for Children
       Swinton Avenue Trading Limited, Inc.
       Viking Direct B.V.
       Viking Direct (Holdings) Limited
       Viking Direct (lreland) Limited (f.k.a Viking Direct (lreland) Limited; then Office Depot International (lreland)
            Limited -new change effective as of 912004
       Viking Direct S.A.R.L.
       Viking Direkt GesmbH
       Viking Finance (lreland) Limited
       Viking Office Products, Inc.
       Viking Office Products KK
       Viking Office Products S.r.l. (f.k.a Viking Direct Srl)
       VOP (lreland) Limited
       VPC System S.r.l. (inactive)

           6600 N. Military Trail
           Boca Raton. FL 33496

17) Sharp Corporation
       Sharp Electronics Corporation
       Sharp Manufacturing Company of America
       Sharp Electronics Manufacturing Company of America

           22-22 Nagaike-Cho
           Abeno-Ku
           Osaka, JAPAN 54*8522
           Attn: Tetsu hiro Horiuchi
              and
           Sharp Electronics Corporation
           Sharp Plaza
           Mahwah. NJ 07495



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Cøthode Røy Tubes Antítrust Litigation
Requests For Exclusion Received (LG Settlement)

              Attn: Kevin A. Fox

18) Gircuit City Stores, Inc. Liquidating Trust
              Jonathan J. Ross
              SUSMAA/ GODFREY L.L.P.
              1000 Louisiana Street, Suite 5100
              Houston, Texas 77002

              Counsel for Alfred H. Siegel, as Trustee of the Circuit City Stores, lnc. Liquidating Trust.

1e) Target Corporation
              1000 Nicollet Mall
              Minneapolis, MN 55403

201 ViewSonic Corporation
         ViewSonic Corooration
             381 Brea Canyon Road
              Walnut, CA 91789

         ViewSonic I nternational Corporation
             9F, No. 192, Lien Chen Road
             Chung Ho, 235, Tapie| Taiwan

         ViewSonic Display Limited
              Level28, Three Pacific Place
              1 Queen's Road East, Hong Kong

         ViewSonic Hong Kong Limited
             c/o KaiTak Commercial Building
             161 Connaught Road Central
             Rooms 1905-8. 19th Floor
              Hong Kong
21ì- Sears
         Sears, Roebuck and Co.
         Sears Holdings Corporation
         Sears Holdings Management Corporation
         Kmart Corporation
         Kmart Management Corporation
         Kmart Holdings Corporation

              3333 Beverly Road
              Hoffman Esfafes. IL 60179

22ì. Dell, Inc.
         1397639 Ontario, Inc
         26eme Avenue SAS



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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       881229 Alberta ULC
       Abu Dabi Branch of PSC Healthcare Software, Inc.
       Active Conceots lnc.
       Active Concepts PTY
       Aelita Software Branch, Moscow
       Aelita Software Branch, St. Petersburg
       Ael ita Software Corporation
       Aelita Software Limited (UK)
       Alienware Corooration
       Alienware Corporation (Pacific Rim), Pty Ltd.
       Alienware Labs Corporation
       Alienware Latin America, S.A (Renamed Dell Costa Rica SA)
       Alienware Limited
       AppAssure Technologies Inc
       ASAP Software Express Inc.
       Aventail Europe Ltd
       Aventail LLC
       BakBone Software GmbH
       BakBone Software lndia Pvt. Ltd.
       BakBone Software Ltd.
       BakBone Software Ltd. Russia Branch
       BakBone Software SARL
       BakBone Software, Inc.
       Bearing Point Management Consulting (Shanghai) Ltd.
       Boomi, Inc
       Bracknell Boulevard (Block C) L.L.C.
       Bracknell Boulevard (Block D) L.L.C.
       Bracknell Boulevard Management Company Limited
       Branch of Dell (Free Zone Company L.L.C.)
       Canada Branch of Perot Systems Corporation
       Change Base Ltd
       Charonware s.r.o
       Clerity Solutions, Inc.
       Coldspark, Inc.
       Compellent Technologies France Sarl
       Compellent Technologies Germany GmbH
       Compellent Technologies Inc.
       Compellent Technologies International Ltd.
       Compellent Technologies ltaly Srl
       Compellent Technologies Netherlands BV
       Corporacion Dell de Venezuela SA
       Credant Technologies International, lnc
       Credent Technologies Belgium, Inc.
       Credent Technologies GmbH
       Credent Technologies, Inc.
       Credent Technologiesm UK (Branch of Credent Technologies, Inc.)



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Cathode Røy Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       CSCAN Acouisition Coro.
       DCC Executive Security Inc.
       Dell (Chengdu) Company Limited
       Dell (China) Company Limited
       Dell (China)Company Limited, Beijing Branch
       Dell (China) Company Limited, Beijing Liaison Office
       Dell (China)Company Limited, Chengdu Branch
       Dell (China) Company Limited, Chengdu Liaison Office
       Dell (China) Company Limited, Dalian Branch
       Dell (China) Company Limited, Guangzhou Branch
       Dell (China) Company Limited, Guangzhou Liaison Office
       Dell (China) Company Limited, Hangzhou Liaison Office
       Dell (China) Company Limited, Nanjing Liaison Office
       Dell (China) Company Limited, Shanghai Branch
       Dell (China) Company Limited, Shanghai Liaison Office
       Dell (China) Company Limited, Shenzhen Liaison Office
       Dell (China) Company Limited, Xiamen Branch
       Dell (PS) BV (f.k.a. Perot Systems Nederland B.V.)
       Dell (Switzerland) GmbH
       Dell (Xiamen) Company Limited
       Dell (Xiamen) Company Limited, Dalian Branch
       DellA.B.
       DellA.S.
       DellA/S
       Dell America Latina Coro
       DellAmerica Latina Corp., Argentina Branch
       DellAsia B.V.
       DellAsia Holdings Pte. Ltd.
       DellAsia Pacific Sdn Bhd (Pakistan Liaison Office)
       DellAsia Pacific Sdn.
       DellAsia Pacific Sdn. Philippines Representative Office
       DellAsia Pte. Ltd.
       Dell Asset Revolving Trust
       Dell Asset Securitization GP L.L.C.
       Dell Asset Securitization Holding L.P.
       Dell Australia Pty. Limited
       DellB.V.
       Dell 8.V., Taiwan Branch
       DellCanada, lnc.
       DellColumbia Inc.
       Dell Columbia Inc., Columbia Branch
       Dell Computadores do Brasil Ltda.
       Dell Computer (Proprietary) Ltd
       Dell Computer de Chile Ltda.
       Dell Comouter EEIG
       Dell Comouter Holdinos L.P.



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Cøthode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       Dell Computer International (ll) - Comercio de Computadores Sociedade Unipessoal Lda
       Dell Computer S.A.
       Dell Computer Services de Mexico SA de CV
       Dell Computer spol. Sro
       Dell Conduit Funding L.P.
       Dell Conduit GP L.L.C.
       Dell Corporation Limited
       DellCorporation Limited - Northern lreland Place of Business
       Dell DFS Canada lnc.
       Dell DFS Corporation
       Dell DFS Holdings Kft.
       Dell DFS Holdings L.L.C.
       Dell DFS Ltd
       Dell DFS Ltd. - Spain Branch
       DellDirect
       Dell Distribution (EMEA) Limited ExternalCompany (Ghana) [renamed Dell Emerging Markets]
       Dell Distribution Maroc (Succ)
       Dell Emerging Market (EMEA) Ltd (Russia Representitive Office)
       Dell Emerging Markets (EMEA) Limited
       Dell Emerging Markets (EMEA) Limited - Egypt Representative Office
       Dell Emerging Markets (EMEA) Limited - Representative Office
       Dell Emerging Markets (EMEA) Limited - Representative Office (Jordan)
       Dell Emerging Markets (EMEA) Limited - Representative Office (Rebublic of Croatia)
       Dell Emerging Markets (EMEA) Limited (Kazikhstan Representative Office)
       Dell Emerging Markets (EMEA) Limited (Uganda Representative Office)
       Dell Emerging Markets (EMEA) Limited Magyarorszagi Kereskedelmi Kepviselet - Rep.Office
       Dell Emerging Markets (EMEA) Limited Representative Office - Lebanon
       Dell Emerging Markets (EMEA) Limited Trade Representative Office (Bulgaria)
       Dell Equipment Funding L.P.
       Dell Equipment GP L.L.C.
       Dell Export Sales Corporation
       Dell Federal Systems Corporation
       Dell Federal Systems GP L.L.C.
       Dell Federal Systems L.P.
       Dell FederalSystems LP L.L.C.
       Dell Financial Services L.L.C.
       Dell Funding L.L.C.
       Dell FZ - LLC
       Dell FZ - LLC -- Bahrain Branch
       Dell FZ - LLLC -- Qatar Branch
       DellGesm.b.H.
       DellGlobalB.V.
       DellGlobal 8.V., Singapore Branch
       Dell Global Business Center Sdn. Bhd.
       Dell Global BV (Bangladesh Representative Office)
       Dell Global BV (lndonesia Representative Office)



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Cathode Ray Tubes Antitrust Litigation
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       Dell Global BV (Pakistan Liaison Office)
       Dell Global BV (Philippines Representative Office)
       Dell Global BV (Sri-Lanka Representative Office)
       Dell Global BV (Vietnam Representative Office), renamed Dell Global BV (Hanoi Representative Office)
       Dell Global Holdings ll B.V.
       Dell Global Holdings lll B.V.
       Dell Global Holdings lll L.P.
       Dell Global Holdings lV L.L.C
       DellGlobal Holdings lX L.L.C
       Dell Global Holdings L.L.C
       Dell Global Holdings Ltd.
       Dell Global Holdings Vl L.L.C
       Dell Global Holdings Vll L.L.C
       Dell Global Holdings Vlll L.L.C
       Dell Global lnternational BV
       Dell Global Procurement Malaysia Sdn. Bhd.
       DellGlobalPte. Ltd.
       DellGmbH
       DellGuatemala Ltda.
       Dell Halle GmbH
       Dell Honduras S de RL de CV
       Dell Hong Kong Limited
       Dell Hungary Technology Solutions Trade LLC
       Dell lll Comercio de Computadores, Unipessoal LDA
              -
       Dell lndia (Sales & Marketing) Private Limited
       Dell lndia Private Ltd.
       Dell Information Technology (Hunan) Company Limited
       Dell Information Technology (Kunshan) Company Limited
       Dell International Holdings I L.L.C.
       Dell International Holdings lX B.V.
       Dell lnternational Holdings Kft.
       Dell International Holdings SAS
       Dell International Holdings Vlll B.V.
       Dell International Holdings X B.V.
       Dell International Holdings Xll Cooperatoef U.A.
       Dell International lnc.
       Dell International L.L.C.
       Dell InternationalServices India Private Limited (f.k.a. Perot Systems TSI (lndia) Private Limited)
       Dell International Services SRL
       Dell Internatonal Services Philippines Inc.
       DellJapan Inc.
       DellL.L.C.
       Dell Marketing Corporation
       Dell Marketing GP L.L.C.
       Dell Marketing L.P.
       Dell Marketino LP L.L.C.



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Cathode Ray Tubes Antitrust Litigøtion
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       Dell Mexico, S.A. de C.V.
       DellN.V.
       Dell New Zealand Limited
       Dell Panama S. de R.L.
       Dell Peru, SAC
       Dell Procurement (Xiamen) Company Limited
       Dell Procurement (Xiamen) Company Limited, Shanghai Branch
       Dell Procurement (Xiamen) Company Limited, Shenzhen Liaison Office
       Dell Product and Process lnnovation Services Corp.
       Dell Products
       Dell Products (Europe) B.V.
       Dell Products (Poland) Sp. Z o.o
       Dell Products Corporation
       Dell Products GP L.L.C.
       Dell Products L.P.
       Dell Products LP L.L.C.
       Dell Products Manufacturing Ltd.
       Dell Protective Services Inc.
       Dell Puerto Rico Corp.
       DellQuebec Inc.
       Dell Receivables Corporation
       Dell Receivables GP L.L.C.
       Dell Receivables LP
       Dell Receivables LP L.L.C.
       DellResearch
       Dell Revolver Company L.P.
       Dell Revolver Funding L.L.C.
       Dell Revolver GP L.L.C.
       DellS.A.
       DellS.A.
       DellS.p.A.
       Dells.r.o.
       DellSA
       DellSales Malavsia Sdn Bhd
       DellSAS
       Dell Services (China) Company Limited
       Dell Services Federal Government, lnc. (fka Perot Systems Government Services, Inc)
       DellServices GmbH (FKA. Perot Systems (Germany)GmbH)
       Dell Services S.r.L.
       Dell Singapore Pte. Ltd.
       Dell Solutions (UK) Ltd.
       DellSp.z.o.o.
       DellTaiwan B.V.
       DellTaiwan 8.V., Taiwan Branch
       DellTechnology & Solutions (Nigeria) Limited
       DellTechnology & Solutions lsrael Ltd.



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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received (LG Settlement)

       Dell Technology & Solutions Ltd. (Formerly Original Solutions Limited)
       DellTechnology Products and Services S.A
       Dell Technology Services Inc. S.R.L.
       Dell Teknoloji Limited Serketi
       DellTrinidad and Tobago Limited
       DellUSA Corooration
       Dell USA GP L.L.C.
       Dell USA LP
       Dell USA LP L.L.C.
       Dell World Trade Corporation
       DellWorld Trade GP L.L.C.
       DellWorld Trade L.P.
       DellWorld Trade LP L.L.C.
       DFS BV
       DFS Equipment Holdings, L.P.
       DFS Equipment Remarketing LLC
       DFS Funding L.L.C.
       DFS-SPV L.L.C.
       DIH IX CV
       DIH VI CV
       DIH VII CV
       DIH VIII CV
       EqualLogic Japan Company Limited
       Fastlane Technologies Corporation
       Fastlane Technologies UK
       Forcel 0 International, Ltd.
       Forcel0 Networks (Shanghai) Ltd.
       Forcel0 Networks Australia Pty. Ltd.
       Forcel0 Networks Germany (Branch)
       Forcel0 Networks Global, lnc.
       Forcel0 Networks Hong Kong (Branch)
       Forcel0 Networks India Pvt. Ltd.
       Forcel 0 Networks International, lnc.
       Forcel0 Networks KK
       Forcel0 Networks Korea YH
       Forcel0 Networks Ltd.
       Forcel 0 Networks Malaysia (Branch)
       Forcel0 Networks Singapore Pvt. Ltd
       Forcel0 Networks Spain (Rep Branch)
       Forcel0 Networks, Inc.
       Fresh Dew lnvestments Ltd.
       Fvision Acquisition Corp
       Gale Networks Private Limited
       Gale Technologies, Inc.
       lmceda Software Australia Pty, Ltd.
       lmceda Software lnc



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Cøthode Ray Tubes Antitrust Litigation
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       lmceda Technologies Pty, Ltd.
       lnSlte One, Inc.
       lnvirtus, Inc.
       Lecco Technology (UK) Limited
       Lecco Technology Inc.
       Lecco Technology, Inc. (USA)
       License Technologies Group, Inc.
       LLC Dell Ukraine
       Lumenare Networks Mauritius Ltd.
       Magnum Technologies, Inc.
       Make Technologies Inc.
       Messagewise
       Muritia Investments Ltd
       NetPro Computing Canada, Inc.
       NetPro Computing France, Inc
       NetPro Computing Germany, Inc.
       NetPro Computing UK, Inc.
       NetPro Computing, Inc.
       NetPro Engineering, Inc.
       NetPro Europe Branch
       NetPro Europe, Inc.
       NetPro France Branch
       NetPro Germany Branch
       NetPro UK Branch
       Ocarina Networks India Pvt. Ltd.
       OptiGrowth Capital Sad
       Oy DellA.B.
       PacketTrap Networks, Inc.
       PassGo Technologies Ltd
       PassGo Technologies Trustees Ltd
       Perot Systems (Malaysia) Sdn. Bhd.
       Perot Systems (Shanghai) Consulting Co., Limited
       Perot Systems (Singapore) Pte. Ltd.
       Perot Systems (Switzerland) GmbH
       Perot Systems (UK) Ltd.
       Perot Systems Application Solutlons Inc.
       Perot Systems B.V.
       Perot Systems Communications Services, lnc.
       Perot Systems Corporation
       Perot Systems Europe Limited
       Perot Systems Government Healthcare Solutions, Inc
       Perot Systems Government Services, Inc.
       Perot Systems Government Solutions, Inc.
       Perot Systems Healthcare Solutions, Inc.
       Perot Systems Holdings Pte. Ltd.
       Perot Systems Investments B.V.



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Cøthode Ray Tubes Antifrust Litigation
Requests For Exclusion Received (LG Settlement)

       Perot Systems Revenue Cycle Solutions, Inc.
       Perot Systems TSI (Bermuda) Ltd.
       Perot Systems TSI (Hungary) Liquidity Management LLC
       Perot Systems TSI (Mauritius) Pvt. Ltd.
       Perot Systems TSI (Middle East) FZ-LLC
       Perot Systems TSI (Netherlands) B.V.
       PrSM Corporation
       PSC GP Corporation
       PSC Healthcare Software, lnc.
       PSC LP Corporation
       PSC Management Limited Partnership
       PSM Holdings 1, Inc.
       PSM Holdings 2, Inc
       PT Dell Indonesia
       Q.S.l. Quest Software lsrael Limited
       QSFT India Private Ltd. Inc.
       QSFT Svenska AB
       QSS Group, Inc
       Quest Acqu isition Corporation
       Quest Holding Company, LLC
       Quest Holdings Sarl
       Quest Java Support Center, BV
       Quest New Zealand Ltd
       Quest Public Sector Inc.
       Quest Scandanavia AS
       Quest Software (UK) Ltd.
       Quest Software (Zhuhai) Ltd.
       Quest Software Beijing Company Limited
       Quest Software Belgium
       Quest Software Canada, Inc.
       Quest Software Company Limited
       Quest Software Espana, SL
       Quest Software France Sarl
       Quest Software Gmbh
       Quest Software Greater China Limited
       Quest Software Int'l Limited
       Quest Software ltalia Srl
       Quest Software Japan Ltd
       Quest Software Korea Ltd.
       Quest Software Limited (Lecco HK)
       Quest Software Mexico S. de R.L. de C.V.
       Quest Software Netherlands B.V.
       Quest Software Norge S/A
       Quest Software Pty, Ltd.
       Quest Software Sales Sdn Bhd
       Quest Software Singapore Pty Limited



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Requests For Exclusion Received (LG Settlement)

       Quest Software Switzerland Gmbh
       Quest Software, Inc.
       Quest Software, Ltd.
       QuickCyckem Inc.
       Safari l, Inc.
       SafarillGP LLC
       Safari ll, Inc.
       Safari Limited ll LP
       Safari Limited Partnership
       ScriptLogic Australia
       ScriptLogic Corporation
       Secure Works Holding Corp.
       Secure Works lnc.
       Secure Works UK Ltd.
       Secure Works UK Ltd. - Finland Branch
       Smarsh CRM Service, Inc.
       Smarsh Inc.
       SonicWALL AG
       SonicWALL BV
       SonicWALL BV - Australia Branch
       SonicWALL BV - Beijing Rep. Office
       SonicWALL BV - Belgium Branch
       SonicWALL BV - Canada Branch
       SonicWALL BV - Dubai Branch
       SonicWALL BV - France Branch
       SonicWALL BV - Germany Branch
       SonicWALL BV - Hong Kong Branch
       SonicWALL BV - India Branch
       SonicWALL BV - lreland Branch
       SonicWALL BV - Japan Branch
       SonicWALL BV - Korea Branch
       SonicWall BV - Singapore Branch
       SonicWALL BV - Spain Branch
       SonicWALL BV - Sweden Branch
       SonicWALL BV - Taiwan Branch
       SonicWALL BV - UK Branch
       SonicWALL I nfosecurity Private Limited
       SonicWALL Mexico, S de RL de CV
       SonicWall Services Private Limited
       SonicWALL Shanghai Limited
       SonicWALL, Inc.
       Surgient, Inc
       Symlabs Espana, S.L.
       Symlabs Inc.
       Symlabs S.A. Portugal
       Transaction Applications Group Inc.



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Cathode Ray Tubes Antitrust Litigølion
Requests For Exclusion Received (LG Settlement)

          Trellia Networks, lnc.
          Turin Networks lndia Pvt. Ltd.
          Turin Networks International, lnc.
          TXZ Holding Company Limited
          Vintela Australia Pty., Ltd
          Vintela Pty, Ltd.
          Vintela, Inc.
          VirtualFabrix Inc.
          Visioncore
          VkernelCorp.
          Wedgetail Communications Inc.
          Wyse Australia Pty. Ltd Australia
          Wyse International, Inc.
          Wyse Technology (Beiging) Co. Ltd China
          Wyse Technology (Canada) Ltd.
          Wyse Technology (UK), LTD
          Wyse Technology Gmbh Germany
          Wyse Technology Holdings (Cayman) Ltd.
          Wyse Technology Inc.
          Wyse Technology l¡ternational B.V.
          Wyse Technology KK Japan
          Wyse Technology Ltd Taiwan
          Wyse Technology SA France
          Wyse Technology Sales & Marketing India Private Ltd.
          Wyse Technology Singapore Pte Ltd
          Wyse Technology China (HK) Ltd.
          Wyse Technology S.A de C.V.
          Wyse Technology Software Development India Private Ltd.

                   One DellWay
                   Round Rock, TX 78682

23) P.C. Richard & Son Long lsland Corporation
          P.C Ricard & Son Long lsland Corporation
          A.J. Richard & Sons, Inc.;
          P.C Ricard & Son, LLC;
          P.C. Richard Service Company,
          Alfred Reliable Appliances, Inc.;
          Reliable Richard's Service Corp.;
          AGP Services Corp.;
          Two Guys Ventures Corp.;
          A.J. Staten lsland, LLC:
          P.C. Deer Park, LLC;
          P.C. 185 Price Parkway, LLC;
          P.C. 1574, Inc.;
          P.C. 1574 Milford LLC:



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       P.C. Lawrenceville. LLC:
       P.C. Brick 70, LLC;
       P.C. Richard & Son Connecticut. LLC

          150 Price Parkway
          Farmingdale NY 11735




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